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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

                                                   )
                                                   )      No. 1:23-cv-738
  IN RE LANSING COMMUNITY                          )
  COLLEGE DATA BREACH LITIGATION                   )
                                                   )      Honorable Paul L. Maloney
                                                   )
                                                   )

                                          ORDER
         In accordance with the bench opinion issued by the court on January 21, 2025:

         IT IS HEREBY ORDERED that plaintiffs’ motion for fees and awards (ECF No.

  50) is DENIED WITHOUT PREJUDICE.

         IT IS FURTHER ORDERED that plaintiffs must file a renewed motion for fees and

  proposed order within (14) fourteen days of the date of this order. The renewed motion

  must reflect the court’s reduction in fees and awards as discussed in the bench opinion.

         IT IS FURTHER ORDERED that the objection to the settlement (ECF No. 53) is

  DENIED.

  IT IS SO ORDERED.

  Date: January 21, 2025                           /s/ Paul L. Maloney
                                                          Paul L. Maloney
                                                          United States District Judge
